






Opinion issued June 25, 2009

     











In The

Court of Appeals

For The

First District of Texas






NO. 01-09-00503-CV






IN RE RALPH O. DOUGLAS, Relator






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM OPINION  (1)


By petition for writ of mandamus, relator, Ralph O. Douglas, seeks relief
compelling the trial court to rule on his motion for default judgment.        


We deny the petition for writ of mandamus.   


Per Curiam				


Panel consists of Justices Jennings, Alcala, and Higley.  
1. 	The underlying case is Ralph O. Douglas v. Linda Porter and Marcelyn Curry,
Cause No. 200155507, in the 129th Judicial District Court of Harris County,
Texas, the Hon. Michael Gomez, presiding.  


